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                        UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF TEXAS
                             HOUSTON DIVISION

 DISH NETWORK L.L.C.,
                                                     §
                                                     §
          Plaintiff,                                   Civil Action No. 4:17-cv-01618
                                                     §
                                                     §
     v.
                                                     §
                                                     §
 SHAHJAHAN DURRANI, d/b/a
                                                     §
 ZemTV, and ADAM LACKMAN,
                                                     §
 d/b/a www.tvaddons.ag,
                                                     §
 www.tvaddons.org,
                                                     §
 www.streamingboxes.com, and
                                                     §
 www.offshoregit.com
                                                     §
                                                     §
          Defendants.

                      Joint Discovery/Case Management Plan
                  Under Rule 26(f) Federal Rules of Civil Procedure
       Plaintiff DISH Network L.L.C. (“DISH”) and Defendants Shahjahan Durrani (“Durrani”)

and Adam Lackman (“Lackman” and collectively with Durrani, “Defendants”) respectfully submit

this Joint Discovery Case Management Plan pursuant to Federal Rule of Civil Procedure 26(f) and

the Court’s May 31, 2017 Order for Conference (Dkt. 4).

1.     State when the parties conferred as required by Rule 26(f), and identify the counsel who
       conferred.
       December 29, 2017

       Stephen M. Ferguson, counsel for DISH

       Erin Russell, counsel for Defendants

2.     List the cases related to this one that are pending in any state or federal court with the case
       number and court.
       There are not any related cases pending in any state or federal court of the United States.
A similar case involving different plaintiffs is pending against Lackman in Canada. Bell Canada

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et al. v. Adam Lackman, T-800-17 (Canada Federal Court, Court at Montreal Quebec), filed June

2, 2017.

3.     Briefly describe what the case is about.
       DISH brings this suit for copyright infringement based on the ZemTV service’s unlawful

retransmissions of television channels exclusively licensed to DISH throughout the United States.

The ZemTV service retransmitted these channels over the Internet to end-users in the United States

that downloaded the ZemTV add-on for the Kodi media player, which was available for download

and supported at the websites www.tvaddons.ag, www.tvaddons.org, and www.offshoregit.com.
Defendants profited from this scheme by encouraging ZemTV add-on users to make donations and

from marketing and advertising revenue. DISH neither authorized Defendants to retransmit these

channels nor received any compensation from Defendants. DISH alleges that Durrani developed

the ZemTV add-on and managed and operated the ZemTV service. Lackman owns and operated

the    websites     www.tvaddons.ag,        www.tvaddons.org,        www.offshoregit.com,        and

www.streamingboxes.com and engaged in the hosting, distribution, and promotion of the ZemTV

add-on. DISH’s claims for relief under 17 U.S.C. ¶ 501 include direct copyright infringement

against Durrani and contributory, inducing, and vicarious copyright infringement against

Lackman. DISH seeks a permanent injunction and damages against Defendants.

       Defendants deny that they are liable to DISH in any manner.

4.     Specify the allegations of federal jurisdiction.

       A.      If jurisdiction is based on diversity of citizenship and any of the parties is an LLC,
               please state the citizenship of each of the members of the LLC.
       This Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1338 because

DISH asserts claims under the Copyright Act, 17 U.S.C. § 101 et seq.

5.     Name the parties who disagree and the reasons.

       The parties agree that the Court has subject matter jurisdiction.




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6.     List anticipated additional parties that should be included, when they can be added, and by
       whom they are wanted.

       The parties do not anticipate additional parties.

7.     List anticipated interventions.

       The parties do not anticipate interventions.

8.     Describe class-action issues.

       None

9.     State whether each party represents that it has made the initial disclosures required by Rule
       26(a). If not, describe the arrangements that have been made to complete the disclosures.
       The parties have not made the initial disclosures required by Rule 26(a). The parties have

agreed to make their initial disclosures by January 19, 2018.

10.    Describe the proposed agreed discovery plan, including:

       A.        Responses to all the matters raised in Rule 26(f).

               i.     what changes should be made in the timing, form, or requirement for
                      disclosures under Rule 26(a), including a statement of when initial disclosures
                      were made or will be made;
       The parties have agreed to make their initial disclosures by January 19, 2018. The parties

do not propose any changes to the form or requirement for initial disclosures.

              ii.     the subjects on which discovery may be needed, when discovery should be
                      completed, and whether discovery should be conducted in phases or be
                      limited to or focused on particular issues;
        The parties anticipate that the general types of fact discovery needed include

interrogatories, document requests (including the production of electronic documents), and

deposition testimony.

       DISH anticipates that the needed subjects of fact discovery include but are not limited to:

            a. Development, design, and operation of the ZemTV service;

            b. Distribution of the ZemTV service;
            c. Marketing of the ZemTV service;

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             d. Interactions with users of the ZemTV service;

             e. Channels retransmitted on the ZemTV service;

             f. Rights claimed by Defendants with respect to those channels, if any;

             g. Infringement notices regarding the ZemTV service;

             h. Profits relating to the ZemTV service, www.tvaddons.ag, www.tvaddons.org,

                 www.offshoregit.com, and www.streamingboxes.com;

             i. Financial transactions relating to the ZemTV service;

             j. Other similar services associated with Defendants; and

             k. Defendants’ infringement of DISH’s copyrights.

          Defendants anticipate that the needed subjects of fact discovery include but are not limited

to:

             a. Third-Party Discovery relating to Plaintiff’s alleged licensing agreements for the

                 programming at issue in this matter;

             b. Lost profits claimed by Plaintiff; and

             c. Infringement notices issued by Plaintiff to and pertaining to Defendants.

          The parties agree that discovery should be completed by January 25, 2019.

          Discovery should not be conducted in phases or be limited to or focused on particular

issues.

              iii.       any issues about disclosure, discovery, or preservation of electronically
                         stored information, including the form or forms in which it should be
                         produced;
                 a.      General Document Format. The parties will produce documents, whether

originating in electronic or hard copy format, as a searchable PDF file on a compact disk, or

alternatively by electronic means and/or a hard copy by U.S. Mail, unless either party provides

notice that production should occur in an alternate format, and the basis for deviating from the

agreed upon form of production. The parties will then confer and agree on the proposed alternative
format prior to the production of any material. When a document is produced, the producing party


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shall maintain a separate file as a native file, which will not be modified in any manner that changes

the file.

                   b.   Text-Searchable Documents.       No party has an obligation to make its

production text-searchable; however, if a party’s documents already exist in text-searchable format

independent of this litigation, or are converted to text-searchable format for use in this litigation,

including for use by the producing party’s counsel, then such documents shall be produced in the

same text-searchable format at no cost to the receiving party.

                   c.   Footer. Each document image shall contain a footer with a sequentially

ascending production number.

                   d.   Native Files. A party that receives a document produced in a format

specified above may make a reasonable request to receive the document in its native format, and

upon receipt of such a request, the producing party shall produce the document in its native

format. Native files need not include a footer with the production number as specified above, but

must be identified with a production number, which may include one production number

applicable to an entire file as specified in the file name. If a producing party produces native files

in a format not easily identifiable or accessible to a receiving party, the producing party must

identify a publicly-available tool or program that can open the native file, or otherwise provide

receiving party with the means to access the native file.
                   e.   Privilege Cut-Off. Privileged documents dated after the filing of this

lawsuit need not be identified on the privilege log.

             iv.        any issues about claims of privilege or of protection as trial-preparation
                        materials, including—if the parties agree on a procedure to assert these
                        claims after production—whether to ask the court to include their agreement
                        in an order under Federal Rule of Evidence 502;
        The inadvertent, accidental, mistaken or erroneous production of documents subject to the

protection of the attorney-client privilege, work product doctrine, or other privilege shall not

constitute a waiver of such privilege or protection, and does not put at issue or constitute the
affirmative use of the advice of counsel or of any privileged communications. The producing party

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shall notify the receiving party in writing of any such inadvertent, accidental, mistaken or

erroneous production as soon as reasonably possible after the producing party becomes aware of

it. Upon receipt of such notice, the receiving party shall, within five (5) business days, or sooner

if that is possible, return all such documents to the producing party, along with any copies made

thereof. The non-waiver protections of this provision extend to other State or Federal proceedings

pursuant to Rule 502(d) of the Federal Rules of Evidence.

             v.           what changes should be made in the limitations on discovery imposed under
                          these rules or by local rule, and what other limitations should be imposed;
                          and
        No changes or limitations. The Parties agree to conduct discovery in accordance with the

Fed. R. Civ. P. and Local Rules of this Court.

             vi.          any other orders that the court should issue under Rule 26(c) or under Rule
                          16(b) and (c).
        The Parties do not request any other orders under Fed. R. Civ. P. 26(c) or 16(b) at this time.

The Parties will confer on an agreed protective order governing discovery, as necessary.

        B.         When and to whom the plaintiff anticipates it may send interrogatories.

        DISH anticipates serving Defendants with initial sets of interrogatories during January

2018.

        C.         When and to whom the defendant anticipates it may send interrogatories.
        Defendants anticipate serving DISH with initial sets of interrogatories during January

2018.

        D.         Of whom and by when the plaintiff anticipates taking oral depositions.
        DISH anticipates taking oral depositions of Lackman, Durrani, and others based on the

evidence, following Defendants’ responses to initial sets of interrogatories, requests for

production, and DISH’s receipt of third party subpoena responses, and prior to October 2018.




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       E.      Of whom and by when the defendant anticipates taking oral depositions.
        Defendants anticipate taking oral depositions of corporate representatives of Plaintiff and

each of the channels/networks at issue in this matter, and others based on the evidence, following

Plaintiff’s responses to Defendants initial sets of interrogatories, requests for production, and

Defendants’ receipt of third party subpoena responses, and prior to November of 2018.

       F.      When the plaintiff (or the party with the burden of proof on an issue) will be able
               to designate experts and provide the reports required by Rule 26(a)(2)(B), and when
               the opposing party will be able to designate responsive experts and provide their
               reports.
       The parties will designate any experts and provide the reports required by Rule 26(a)(2)(B)
by October 27, 2018. The parties will make any responsive designation and delivery of rebuttal

expert reports by November 30, 2018.

       G.      List expert depositions the plaintiff (or the party with the burden of proof on an
               issue) anticipates taking and their anticipated completion date. See Rule
               26(a)(2)(B) (expert report).

       DISH intends to take any expert depositions during December 2018.

       H.      List expert depositions the opposing party anticipates taking and their anticipated
               completion date. See Rule26(a)(2)(B) (expert report).

       Defendants intend to take any expert depositions during December 2018.

11.    If the parties are not agreed on a part of the discovery plan, describe the separate views and
       proposals of each party.

       The parties agree with the proposed discovery plan.

12.    Specify the discovery beyond initial disclosures that has been undertaken to date.
       DISH served subpoenas and letters of request on Defendants’ service providers seeking

limited discovery to identify Defendants, pursuant to the Court’s Order granting DISH’s motion

for leave to conduct expedited discovery and issuance of letters of request (Dkt. 6).

13.    State the date the planned discovery can reasonably be completed.

       January 25, 2019


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14.      Describe the possibilities for a prompt settlement or resolution of the case that were
         discussed in your Rule 26(f) meeting.
         DISH initiated settlement discussions with Lackman’s counsel prior to the Rule 26(f)

conference. DISH is prepared to continue discussing settlement possibilities through counsel or

through mediation.

15.      Describe what each party has done or agreed to do to bring about a prompt resolution.
         DISH initiated settlement discussions and provided a written proposal to Lackman’s

counsel.

16.      From the attorneys’ discussion with the client, state the alternative dispute resolution
         techniques that are reasonably suitable, and state when such a technique may be effectively
         used in this case.
         The parties agree that mediation before an agreed mediator or magistrate judge may be

effective during or following the completion of discovery.

17.      Magistrate judges may now hear jury and non-jury trials. Indicate the parties’ joint position
         on a trial before a magistrate judge.

         The parties do not unanimously consent to a trial before a magistrate judge.

18.      State whether a jury demand has been made and if it was made on time.

         The parties have not made a jury demand.

19.      Specify the number of hours it will take to present the evidence in this case.
         The parties anticipate it will take approximately 24 hours to present the evidence in this
case.

20.      List pending motions that could be rule on at the initial pretrial and scheduling conference.

         None

21.      List other motions pending.

         None




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22.    Indicate other matters peculiar to this case, including discovery, that deserve the special
       attention of the court at the conference.

       None

23.    Certify that all parties have filed Disclosure of Interested Parties as directed in the Order
       for Conference and Disclosure of Interested Parties, listing the date of filing for original
       and any amendments.

       DISH filed it Disclosure of Interested Parties on May 30, 2017 (Dkt. 2).

       Defendants will file their Disclosure of Interested Parties before the currently-scheduled
       status conference.

24.    List the names, bar numbers, addresses, and telephone numbers of all counsel.

       Stephen M. Ferguson                           Joseph H. Boyle
       Texas Bar No. 24035248                        Texas Bar No. 24031757
       Southern District of Texas Bar No. 614706     Southern District of Texas Bar No. 30740
       Hagan Noll & Boyle LLC                        Hagan Noll & Boyle LLC
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       Counsel for DISH                              Counsel for DISH

       Erin Russell                                  Jason E. Sweet
       Illinois Bar No. 6287255                      Massachusetts Bar No. 668596
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       erin@russellfirmchicago.com                   Counsel for Lackman
       Counsel for Defendants


 s/ Stephen M. Ferguson                                       12/29/2017
Counsel for DISH                                             Date

 s/ Erin Russell                                              12/29/2017
Counsel for Defendants                                       Date




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                              CERTIFICATE OF SERVICE

        I hereby certify that on December 29, 2017, a true and correct copy of the foregoing
document was filed electronically with the Clerk of the Court, using the CM/ECF system, which
sent notification of such filing to all CM/ECF participants in this case.


                                                   s/ Stephen M. Ferguson
                                                  Stephen M. Ferguson




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